Case 1:20-cv-00198-GNS-HBB Document 37 Filed 03/30/22 Page 1 of 2 PageID #: 489




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                 AT BOWLING GREEN
                         CIVIL ACTION NO.: 1:20-cv-00198-GNS

                                    Electronically Filed


 ANITA RUBIO, Administrator of the
 ESTATE of AKEEM WILLIAMS, et al.                                                   PLAINTIFF


 v.                         AGREED ORDER OF DISMISSAL


 DZ MOVING AND STORAGE, LLC, et al.                                               DEFENDANTS


                              ***    ***    ***    ***     ***

        The parties being in agreement and the Court being otherwise sufficiently advised,

        IT IS HEREBY ORDERED:

        1.     That all claims of Plaintiffs, Anita Rubio, Administratrix of the Estate of

 Akeem Williams and Anita Rubio, Next Friend of Gabriel Williams, a Minor against the

 defendants, John Christner Trucking LLC and Terron Scott be, and the same are hereby

 DISMISSED WITH PREJUDICE as settled, each party to bear their own costs and

 attorneys’ fees; and,

        2.     All claims having been resolved, this matter is STRICKEN from the active

 docket of this Court.




                                                                 March 30, 2022




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Case 1:20-cv-00198-GNS-HBB Document 37 Filed 03/30/22 Page 2 of 2 PageID #: 490




 HAVE SEEN AND APPROVE FOR ENTRY:

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